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       District 1

    Population Statistics                      Ethnicity                    Voter Statistics

City of Buffalo                 37,428   White                  72,412   Registered Voters     50,425
City of Lackawanna              18,141   % White               86.68%
Town of Hamburg                 27,969   Black                   6,322   Democrats             31,097
                                         % Black                7.57%    Republicans            8,504
Total Population                83,538   American Indian           457   Conservatives          1,548
Deviation                          -11   % American Indian      0.55%    Working Families         337
% Deviation                    0.00013   Asian                     725   Independence           2,273
                                         % Asian                0.87%    Green                     89
Age 18+                         65,281                                   Other                    502
                                         Hispanic Origin         5,747   Blank                  6,075
                                         % Hispanic Origin      6.88%
                                                                         Male                  23,136
                                         Black 18+               4,260   Female                27,289
                                         % Black 18+            6.53%
                                         Hispanic Origin 18+     3,559   Age 18 - 24            4,019
                                         % Hispanic 18+         5.45%    Age 25 - 34            8,271
                                                                         Age 35 - 40            4,580
                                                                         Age 41 - 45            4,446
                                                                         Age 46 - 54            9,113
                                                                         Age 55 - 61            6,417
                                                                         Age 62+               13,579

                                                                         Federal Voters           64
                                                                         Military Voters          90
                                                                         Disabled                807
                                                                         Nursing Home            134

                                                                         Voted 2007 Election   20,311
                                                                         Voted 2009 Election   13,868
